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                             UN ITED STATES D ISTRICT CO U RT
                             SOU THERN D ISTRICT O F FLO RIDA

                       CA SE NO.19-20493-M C-> GARO/O'SULL1V AN

  SEC,

         Plaintiff,



  CA RLA M ARIN ,

         D efendant.




         THIS M ATTER com esbeforetheCourton thedefendant'soretenusmotion to allow

  attorneyAdam Ford to bring alaptop com puterand acellphoneto the M arch l9,2019 show

  cause hearing.H aving reviewed the request,itis

         ORDERED AND ADJUDGED thattheptq tenusm otion isGRANTED.AttorneyA dam
                                                -




  Ford ispermitted to bring alaptop com puterand a cellphoneto the M arch 19,2019 show cause

  hearing.

         DONE AND ORDERED in Cham bersat ia              lori at is 19th day ofM arch,2019,



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                                     CH IEF     ITED STATES M A GISTR ATE JU D GE




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